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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


Michael Melvin, et al

                             Plaintiffs,
             v.

Honorable James Francis Kenney, et al                   Civil Action No. 20-3529

                                  Defendants.



                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL
                       PURSUANT TO F.R.Civ.P. Rule 41(a)(1)(i)

       Plaintiffs Michael Melvin, Dan Farrelly, Brion Milligan, Mark Palma, Robert Bannan,

Steven Hartzell, and Jesus Cruz (collectively “Plaintiffs”) by and through counsel, hereby given

notice that the above action is dismissed pursuant to F.R.Civ.P. Rule 41(a)(1)(i), without

prejudice.

Dated: May 13, 2021                                  Respectfully submitted,

                                                     /s/ Andrew Teitelman
                                                     Andrew Teitelman, Esq.
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                                                     Huntingdon Valley, PA, 19006
                                                     Bar No: 43545
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                                                     Counsel for Plaintiffs

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                                                     Pro Hac Vice
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of May, 2021, a true copy of the foregoing

was filed via ECF and served to all counsel of record though the Court’s ECF system, and on

non-represented parties by First Class United States Mail.


                                                                 /s/ Andrew Teitelman




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